Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 1 of 30




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



  Sarah Ehekircher,                  )
                                     )
  Plaintiff,                         )
                                     )
  vs.                                )          Civil Case No. 1:22-cv-3322
                                     )
  United States Swimming, Inc.,      )
  Colorado Swimming, Inc.,           )
  Mission Aurora Colorado Swim Team, )
  James Scott MacFarland,            )
  Cherry Creek School District 5,    )
  Cherry Creek School District 5     )
  Employees 1-50, inclusive,         )
                                     )
  Defendants.                        )


       PLAINTIFF’S SECOND AMENDED COMPLAINT AND JURY DEMAND


        Comes now Plaintiff Sarah Ehekircher, by counsel, and for her Second Amended

  Complaint for Damages against Defendants, states as follows:

                                   INTRODUCTION

        Sarah Ehekircher is a former student-athlete who excelled in swimming and

  dreamt of competing in the Olympics. After the death of her mother and subsequent

  abandonment by her alcoholic father, her coach, James Scott MacFarland, took

  advantage of her vulnerable state and groomed and emotionally abused her for his own

  sexual gratification. USA Swimming-certified coach MacFarland coached Sarah for the

  Mission Viejo (Colorado) (which became the Mission Aurora Colorado Swim Team).


                                            1
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 2 of 30




  MacFarland, with the full awareness of the Cherry Creek School District, had Sarah

  move into his apartment while she was still a minor.

         Coach MacFarland raped Sarah for the first time in the summer of 1986 when she

  was at swim meet in Southern California. He continued to coerce Sarah into sex,

  leveraging the lodging he provided her, to induce her to sexually service him. This

  abuse continued for years, and Sarah carried the emotional scars resulting from the

  trauma for many more. James Scott MacFarland, USA Swimming, Colorado Swimming,

  the Mission Aurora Colorado swim team, and the Cherry Creek School District all

  actively abused and/or failed to act to protect Sarah, and the corporate defendants (the

  Swimming Defendants the Cherry Creek School District) benefitted from their

  relationships with Sarah’s abuser.

                                          PARTIES

         1.     Sarah Ehekircher is a natural person and a citizen of the United States. She

  currently resides in Seattle, Washington. She may be served through counsel, whose

  contact information appears below.

         2.     Defendant United States Swimming, Inc (“USA Swimming”) is a Colorado

  Corporation, with its principal place of business at 1 Olympic Plaza, Colorado Springs,

  Colorado 80909. It may be served through its registered agent: InCorp. Services Inc., 36

  South 18th Avenue, Brighton, Colorado 80601.

         3.     Defendant Colorado Swimming is a Colorado Corporation and can be

  served via its registered agent, Jackie Stiff, PO Box 904 Eastlake, Colorado 80614.



                                              2
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 3 of 30




  Colorado Swimming’s physical address per the Colorado Secretary of State is 14185

  Forest Street Thornton, Colorado 80602.

         4.     Colorado Swimming is a Local Swim Committee (“LSC”) of United States

  Swimming.

         5.     LSCs act for USA Swimming in their respective geographic areas,

  administering swim meets, tracking results, ensuring that only USA Swimming

  Coaches are permitted on pool deck.

         6.     LSCs carry out the business and operations of USA Swimming in their

  respective geographic areas.

         7.     https://www.usaswimming.org/about/lsc-websites is a listing of the

  respective LSCs across the United States and respective territories.

         8.     Colorado Swimming and USA Swimming are insured on the same

  commercial general liability policies.

         9.     Colorado Swimming is a d/b/a entity of USA Swimming.

         10.    Colorado Swimming and USA Swimming are insured on the same sexual

  abuse insurance policies.

         11.    Defendant James Scott MacFarland (“Coach MacFarland”) was last known

  to be living in Houston, Texas coaching at the Magnolia Aquatic Club. His current

  whereabouts are unknown.

         12.    Plaintiff will serve MacFarland via personal service.




                                              3
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 4 of 30




         13.    Mission Aurora Colorado Swim Team (“MACS”) is a Colorado

  Corporation. It is the successor in interest to the Mission Viejo Swim Club in Colorado.

  It may be served through its registered agent, Andrew J. Neimann at 19951 E. Radcliffe

  Pl, Centennial, CO 80015-5414.

         14.    Mission Viejo Colorado was a swim team that was located in Aurora,

  Colorado.

         15.    In 1989, the Mission Viejo subdivision no longer wanted the Mission Viejo

  Swim team to use the Mission Viejo name.

         16.    As a result, in 1989, the Mission Viejo Colorado swim team became

  Mission Aurora Colorado Swim Team .

         17.    MACS is a d/b/a entity of USA Swimming. It is sometimes referred to

  herein as MVC/MACS to denote its status as a successor entity to MVC.

         18.    Cherry Creek School District 5 is a public school district based in western

  Arapahoe County, Colorado. It may be served through its District Office, at 4700 South

  Yosemite Street, Greenwood Village, Colorado 80111.

         19.    Smoky Hill High School is and was a high school in the Cherry Creek

  School District.

         20.    John Doe School District Employees 1-50 is a placeholder for those Cherry

  Creek School District 5 employees whose identities are yet to be discovered but who

  knew, or should have known, that MacFarland, who coached swimming at Cherry

  Creek facilities, was sexually harassing and abusing young students, including Sarah



                                              4
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 5 of 30




  Ehekircher, and who did not report him, intervene, or otherwise take any actions to

  protect children and youth against him.


                               JURISDICTION AND VENUE

          21.   This Court has original subject matter jurisdiction of the federal questions

  presented herein under 28 U.S.C. § 1331 and Title IX of the Education Amendments of

  1972.

          22.   This Court also has jurisdiction pursuant to 28 U.S.C. § 1332 because the

  parties are completely diverse and the amount in controversy exceeds $75,000, exclusive

  of interest and costs.

          23.   This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over

  Ms. Ehekircher’s state law claims.

          24.   Venue in this Court is proper under 28 U.S.C. § 1391(b), for many of the

  events or omissions giving rise to these claims arose in this District.

                                            FACTS

          25.   Sarah Ehekircher was born in 1968.

          26.   Sarah started swimming at the age of 12.

          27.   By the time Sarah was 14, she was one of the top breaststrokers in Colorado.

          28.   Except for one semester of her sophomore year of high school when she

  lived in Ohio, Sarah swam for the Mission Viejo Conquistadores a/k/a Mission Viejo

  Colorado.

          29.   In 1982, when Sarah was 13, her mother died of cancer.


                                               5
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 6 of 30




           30.   Her father began to struggle with alcoholism when Sarah was in her early

  teens.
           31.   Following her mother’s death, swimming became Sarah’s outlet and was

  (initially) a safe place for her emotionally and physically.

           32.   Sarah doubled down on her commitment to the sport and her increased

  dedication resulted in improved performances.

           33.   The Mission California Swim team was and is one of the most successful

  club swim programs in the United States.

           34.   At some point in the 1980s, Mission Viejo created a Colorado branch of its

  swim club, which Sarah joined.

           35.   As explained above, Mission Viejo – Colorado (“MVC”) eventually

  became Mission Aurora Colorado Swim Team (“MACS”).

           36.   MACS still operates a club swimming program to this day.

           37.   MVC was affiliated with United States Swimming (the National Governing

  Body or “NGB”) and Colorado Swimming (the Local Swimming Committee or “LSC”).

           38.   Sarah’s swim coach at MVC was Defendant MacFarland.

           39.   At all relevant times, MacFarland was a swim coach certified by Defendant

  United States Swimming.

           40.   The Swimming Defendants (USA Swimming, Colorado Swimming,

  MACS) benefitted from their relationship with MacFarland by, for example, the dues or

  fees he paid to be a member coach and the revenue they received in relation to swim

  meets and successful swimming competition results.


                                               6
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 7 of 30




         41.    Coach MacFarland had been recruited by Mark Schubert to coach the

  Colorado extension of the Mission Viejo Nadadores program.

         42.    Schubert was aware that Coach MacFarland and his other young male

  assistant coaches had a practice of wearing short running shorts without underwear

  while stretching girls at Mission Viejo practices.

         43.    Coach MacFarland and his USA Swimming-certified peers wore short

  running shorts (“Dolphin shorts”) while stretching girls.

         44.    Coach MacFarland and his USA Swimming-certified peers wore short

  running shorts while stretching girls so the girls would have a clear view of their

  testicles and penises.

         45.    Coach MacFarland and other Mission Viejo coaches would stretch their

  legs on the starting blocks while wearing Dolphin shorts to expose their genitals to the

  children they coached.

         46.    By 1986, USA Swimming, its LSCs, and the member clubs of USA

  Swimming were not able to purchase commercial general liability insurance on the

  open insurance market.

         47.    By 1986, in order to purchase insurance USA Swimming had to pay “one

  million dollars, for one million dollars of coverage.”




                                               7
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 8 of 30




         48.    USA Swimming, its LSCs, and member clubs were not able to purchase

  commercial insurance on the open market because of the high incidence of child sexual

  abuse in USA Swimming1.

         49.    In 1986, USA Swimming, Colorado Swimming, and the Mission Viejo

  Nadadores (now Defendant “MACS”) had no policies or procedures prohibiting sexual

  relations between coaches and the young athletes they coached.

         50.    USA Swimming, Colorado Swimming, and the Mission Viejo Nadadores

  (now Defendant MACS) did not prohibit sexual relationships between coaches and

  athletes until 2013.

         51.    In 1986, USA Swimming, Colorado Swimming, and the Mission Viejo

  Nadadores (now Defendant MACS) had no policy prohibiting coaches from living with

  the children they coached.

         52.    In 1986, USA Swimming, Colorado Swimming, and the Mission Viejo

  Nadadores (Now Defendant MACS) had no policy prohibiting male coaches from

  living with the female minors they coached.

         53.    During the 1985-86 school year, MacFarland was Sarah’s coach at MVC

  (now MACS).

         54.    Coach MacFarland was aware that Sarah’s mother had passed away.




  1 Through at least 2020 USA Swimming member clubs purchase their insurance as USA


  Swimming doing business as the NAME OF CLUB.


                                              8
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 9 of 30




         55.     Coach MacFarland began to take an “interest” in Sarah outside of her

  swimming.

         56.     Coach MacFarland asked Sarah personal questions about her home and

  dating life.

         57.     Coach MacFarland knew that Sarah’s father was struggling with his wife’s

  death and was drinking excessively.

         58.     At all relevant times, Sarah was enrolled in Cherry Creek School District 5

  (“Cherry Creek Schools”).

         59.     At some point Coach MacFarland was an employee of the Cherry Creek

  Schools or was otherwise affiliated with Cherry Creek Schools.

         60.     MacFarland assisted Mike Mason and Don Hill as a swim coach with the

  Cherry Creek School District, coaching in some capacity at Smoky Hill High School.

         61.     Cherry Creek Schools had actual knowledge that Sarah was living with

  Coach MacFarland when she was a minor.

         62.     While a student at Smoky Hill, Scott MacFarland's address was listed on

  Sarah's school records.




                                               9
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 10 of 30




          63.    Cherry Creek Schools knew or should have known that Sarah was not

   MacFarland's child.

          64.    Cherry Creek Schools knew or should have known MacFarland’s address.

          65.    Cherry Creek Schools rented pool space to MacFarland.

          66.    MacFarland was a swim coach for Smoky Hill High School.

          67.    Cherry Creek Schools benefitted from its relationship with MacFarland

   by, for example, receiving rents from him.

          68.    Cherry Creek Schools knew or should have known that MacFarland had

   no legal custody over Sarah.

          69.    Upon information and belief, Cherry Creek Schools did nothing to protect

   Sarah despite having actual knowledge that she was living with an adult male that was

   not her father or legal guardian.

          70.    The potential harm of an adult male living with a minor female who is not

   biologically or legally related is obvious.




                                                 10
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 11 of 30




            71.     Cherry Creek Schools had a duty to enact policies and procedures to

   protect its students.

            72.     Cherry Creek Schools breached its duty to protect Sarah.

            73.     Coach MacFarland had Sarah move into his one-bedroom apartment in

   Aurora, Colorado when Sarah was a seventeen-year-old (17) junior in High School.

            74.     Despite actual knowledge that Sarah, a student under 18, was living with

   adult male James Scott MacFarland, Cherry Creek Schools took no actions to protect

   Sarah.

            75.     Coach MacFarland began traveling with Sarah to swim competitions in

   Colorado and in other states.

            76.     Coach MacFarland traveled to swimming competitions with Sarah in the

   summer of 1986.

            77.     Coach MacFarland took no steps to conceal his “relationship” with Sarah.

            78.     Coach MacFarland’s “relationship” with Sarah was openly discussed

   among employees at Smoky Hill.

            79.     Coach MacFarland and Sarah traveled, at MacFarland’s expense, to the

   Irvine AA (older)2 swim meet in Irvine, California in July 1986.

            80.     For the first part of the meet, Sarah stayed with Shannon Hair, another

   junior athlete.



   2   AA was a minimum time standard needed to enter the meet and older referred to athletes over
   the age of 13.


                                                  11
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 12 of 30




          81.    When Shannon was done competing, she left the meet and Coach

   MacFarland moved into the room that Sarah still occupied.

          82.    At the hotel room they shared in Irvine, California, Coach MacFarland

   raped Sarah for the first time; she was 17.

          83.    The age of consent in California (in 1986 and today) is 18.

          84.    Sarah did not turn 18 until December 1986.

          85.    After the meet in Irvine concluded, Sarah and Coach MacFarland traveled

   to a meet in Austin, Texas.

          86.    Sarah and Coach MacFarland had sexual intercourse in Texas in the

   summer of 1986.

          87.    Sarah and Coach MacFarland had sex in his car in Arizona in the summer

   of 1986.

          88.    Bob and Kathy Gillett coached a USA Swimming club, Arizona Sports

   Ranch, in Paradise Valley, Arizona.

          89.    Sarah and the three prominent USA Swimming Coaches (Scott, Bob, and

   Kathy) traveled on to Arizona where Sarah and Scott shared a bed at the Gillett family

   home in Phoenix, Arizona.

          90.    Sarah and Coach MacFarland had sex in the Gillett’s home in Paradise

   Valley, Arizona in the summer of 1986.

          91.    Bob and Kathy Gillett knew how old Sarah was in the summer of 1986.




                                                 12
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 13 of 30




           92.    Bob and Kathy Gillett knew Sarah was not 18 years old in the summer of

   1986.

           93.    In 1986, the age of consent in Arizona was 18 years old (as it is today).

           94.    Sarah and Scott traveled to Las Vegas, Nevada in the summer of 1986 with

   USA Swimming coaches, Bob and Kathy Gillett.

           95.    Sarah and Scott shared a hotel room in Las Vegas; however, the age of

   consent in Nevada in 1986 was 16.

           96.    Upon returning to Colorado for the start of school, Sarah was coerced into

   sexual acts Coach MacFarland countless times at his apartment between August 1986

   and her graduation in the spring of 1987.

           97.    The MACS Swim Team, then known as Mission Viejo Colorado, was

   aware that Sarah was living with Coach MacFarland before she went to Irvine in the

   summer of 1986.

           98.    The MACS Swim Team, then known as Mission Viejo Colorado, discussed

   Sarah and Scott living together at board meetings in 1986 before Sarah traveled to Irvine

   with Coach MacFarland.

           99.    The MACS Swim Team, then known as Mission Viejo Colorado, was aware

   that Sarah was traveling to California with Coach MacFarland in the summer of 1986.

           100.   It was common knowledge on the MACS Swim Team that Coach

   MacFarland and Sarah were living together in 1986.




                                                13
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 14 of 30




            101.   It was commonly known in the MACS Swim program that Sarah was a

   minor in 1986.

            102.   The MACS Swim Team had no policies or procedures regarding

   appropriate coach-minor athlete relationships.

            103.   The MACS Swim Team had no policies or procedures prohibiting

                a. Coach – Athlete sex

                b. Coach – sex with minors

                c. Adult male coaches sharing hotel rooms with minors

                d. Coaches from living alone with minor members they coached.

            104.   The culture of USA Swimming and its LSCs, including Colorado

   Swimming, have long enabled and turned a blind eye to adult male coaches having sex

   with the young girls they coach.

            105.   As reported by the Orange County Register in February 2018, literally

   hundreds of USA Swimming coaches have engaged in sexual relationships with the

   young athletes they coached since the organization’s inception in 1978.3

            106.   It was not noteworthy or unusual that Coach MacFarland was having sex

   with a minor swimmer.




   3   Scott Reid, 100s of USA Swimmers Were Abused for Decades, The Orange County Reg., Feb.
   16, 2018, https://www.ocregister.com/2018/02/16/investigation-usa-swimming-ignored-
   sexual- abuse-for-decades/.


                                                 14
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 15 of 30




          107.   It was this very culture that allowed Coach MacFarland to openly “date”

   and live with Sarah in 1986.

          108.   Sarah and Scott had sex in Arizona, California, Texas, and Nevada before

   returning to Colorado for the start of Sarah’s senior year of high school in 1986.

          109.   Coach MacFarland lived with Sarah in his one-bedroom apartment while

   she was a high school student.

          110.   Cherry Creek Schools knew that Sarah was living with Coach

   MacFarland, while Sarah was a Smoky Hill student.

          111.   Cherry Creek Schools took no steps to verify whether Scott MacFarland

   was indeed Sarah’s guardian.

          112.   Coach MacFarland continued emotionally and sexually abusing Sarah.

          113.   Coach MacFarland kept a scale in his kitchen and insisted Sarah weigh

   herself before she ate; he regularly forced her to ride a stationary bike for at least two

   hours after swim practice.

          114.   MacFarland’s address at E Stanford Ave, Aurora, CO 80015 is listed on

   Sarah’s Smoky Hill school records.

          115.   In reality, Coach MacFarland was not Sarah’s “guardian;” he was her

   rapist and abuser.

          116.   In USA Swimming, Colorado Swimming, and MACS social circles, Sarah

   and Coach MacFarland openly “dated.”




                                                15
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 16 of 30




          117.      Staff and employees, particularly in the athletic department knew that

   Coach McFarland and Sarah were dating.

          118.      MacFarland constantly demanded sexual services from Sarah.

          119.      MacFarland leveraged the fact he was providing food and shelter to

   Sarah, who had nowhere else to go, in exchange for sexual services.

          120.      Because she lived with him and was dependent on him for her basic

   needs, including food and shelter, Sarah was subject to MacFarland’s beck and call.

          121.      Because she lived with him and was dependent on him for her basic

   needs, including food and shelter, Sarah was forced to sexually service MacFarland

   whenever he wanted.

          122.      Because she lived with him and was dependent on him for her basic

   needs, including food and shelter, Sarah was forced to labor for MacFarland’s personal

   gratification.

          123.      MacFarland became jealous when Sarah received attention from peers her

   age.

          124.      MacFarland prohibited Sarah from engaging in normal youth activities,

   like attending dances and dating her peers.

          125.      Coach MacFarland refused to let Sarah take part in high school milestones,

   such as having her senior pictures taken.

          126.      Coach MacFarland would spend hours video-taping Sarah, and then force

   her to spend hours watching herself on VHS with him.



                                                 16
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 17 of 30




          127.   Coach MacFarland would often videotape Sarah swimming alone for

   hours, and then force her to watch the tapes of herself swimming while he critiqued

   every stroke, kick, and turn.

          128.   These sessions would sometimes last up to six hours.

          129.   Despite enduring constant sexual and emotional abuse from her USA

   Swimming certified-coach while still a teenager, Sarah continued to swim well during

   her senior of high school.

          130.   By the end of her senior year in May 1987, Sarah had not committed to a

   college.

          131.   Sarah moved to San Diego in May 1987 and swam for Rick Shipperd.

          132.   In July 1987, Sarah returned to Colorado and resumed swimming for

   Mission Viejo and Coach MacFarland.

          133.   Sarah swam for the Mission Viejo Colorado at USA Swimming Junior

   Nationals in Mission Viejo, California in July 1987.

          134.   As a result of her performance at that meet, Sarah was offered a

   scholarship to the University of Arkansas.

          135.   Sarah chose to attend the University of Arkansas.

          136.   After she relocated to Fayetteville, Arkansas, Coach MacFarland

   constantly harassed Sarah, demanding to know her whereabouts and with whom she

   was spending her time.




                                                17
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 18 of 30




           137.   When Sarah came home for Thanksgiving, Coach MacFarland coerced

   Sarah into sex.

           138.   Scott impregnated Sarah for the first time around the end of November

   1987.

           139.   She was 18 years old.

           140.   Sarah aborted the pregnancy in January 1988.

           141.   Coach MacFarland continued to pressure and harass Sarah through the

   remainder of her freshman year at the University of Arkansas.

           142.   Sarah left school during the beginning of her second semester, and never

   returned.

           143.   Sarah left the University of Arkansas and moved back to Colorado to live

   with Coach MacFarland.

           144.   Sarah retired from competitive swimming in 1993.

           145.   Sarah was impregnated twice within eight months of the first abortion.

           146.   In 1988, Sarah had two abortions for pregnancy caused by Scott

   MacFarland.

           147.   Sarah last had sex with James Scott MacFarland in 1993.

           148.   Sarah’s “relationship” with Coach MacFarland had been well known in

   USA Swimming circles since it started when Sarah was 17.

           149.   Numerous times during the last 30+ years, Sarah has made formal and

   informal complaints to USA Swimming about Coach MacFarland.



                                               18
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 19 of 30




          150.   In 2010, USA Swimming convened a Board of Review in Dallas, Texas to

   adjudicate Sarah’s allegations against Coach MacFarland.

          151.   John Morse, USA Swimming’s former counsel, was the “chair” a/k/a

   “Judge” for the Board of Review.

          152.   USA Swimming’s outside counsel, Bryan Cave, “prosecuted” Sarah’s

   allegations against James Scott MacFarland.

          153.   Bryan Cave also served as USA Swimming counsel defending sexual

   abuse civil cases across the United States until 2015 or 2016.

          154.   Under oath, Sarah testified that James Scott MacFarland first had sex with

   her in July 1986 at a hotel in Orange County, California.

          155.   Under oath, James Scott MacFarland admitted to having a sexual

   relationship with Sarah when he was her coach but denied having sex with her in

   California in 1986.

          156.   USA Swimming claims they are unable to find meet results from the

   Irvine meet in 1986 or the meet from Austin in 1986.

          157.   USA Swimming’s Board of Review included a “jury” of three.

          158.   As intended, USA Swimming’s Dallas Board of Review found that Sarah

   and Coach MacFarland’s sexual relationship started in the summer of 1987 not the

   summer of 1986.




                                               19
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 20 of 30




          159.    USA Swimming or the Center For Safe Sport4 or both have provided the

   inaccurate date of 1987 as the commencement of sexual activity between Coach

   MacFarland and Sarah to law enforcement.

          160.    As a result of being raped at a young age and during a vulnerable time,

   Sarah has suffered extreme emotional distress.

          161.    As a result of her emotional distress, Sarah has been hospitalized with

   depression.

          162.    Sarah has made three suicide attempts.

          163.    Over the last 30+ years, USA Swimming has contributed to Sarah’s distress.

          164.    USA Swimming has sought to discredit Sarah to protect the reputation of

   the USA Swimming, the Mission Viejo Swim teams, Mark Schubert, and to a lesser

   extent, Coach MacFarland.

          165.    USA Swimming has withheld evidence, namely meet results and

   transcripts from Sarah, to prevent Sarah from proving the allegations underlying this

   complaint.




   4 The Center for Safe Sport is an organization in Denver, Colorado that is completely reliant on


   funding from the United States Olympic Committee and National Governing Bodies like United
   States Swimming. The Center For Safe Sport is designed to “investigate” claims of sexual abuse

   in Olympic Sports and then mitigate the civil and criminal liability of the USOC and National
   Governing Bodies upon whom it relies for funding.



                                                  20
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 21 of 30




          166.   Upon information and belief, in 2018 or 2019 the US Center for Safe Sport

   opened an investigation into Sarah’s allegations against James Scott MacFarland.

          167.   Upon information and belief, USA Swimming did not provide meet

   results that could have corroborated Sarah’s participation in the 1986 Irvine and Austin

   swim meets.

          168.   The Center for Safe Sport closed its investigation into Coach MacFarland

   in 2019 for reasons not currently known to Plaintiff.

          169.   Upon information and belief USA Swimming or the Center for Safe Sport

   provided inaccurate information to law enforcement in California.

                                    CAUSES OF ACTION

                 Count 1: Sexual Battery of a Minor - California Law Applies
                                 (v. James Scott MacFarland)

          170.   Plaintiff hereby incorporates all foregoing paragraphs as though fully

   recited herein.

          171.   At all relevant times, Defendant MacFarland was a USA Swimming

   approved, certified, and/or registered swim coach for the USA Swimming sanctioned

   and certified club the Mission Viejo Colorado entrusted with the care of Plaintiff as her

   swim coach. MacFarland owed Plaintiff a duty to conduct himself appropriately so as

   not to inflict harm upon her. At all relevant times, said Defendant was employed,

   retained, and/or acting as the agent for USA Swimming, and/or Mission Viejo

   Colorado




                                               21
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 22 of 30




          172.    Commencing in or around 1985-86, MacFarland used his position of trust

   and authority as Plaintiff’s coach to groom plaintiff for his sexual gratification and/or

   committed lewd and lascivious acts upon Plaintiff and/or sexually abused, molested,

   and impermissibly touched Plaintiff.

          173.    As a legal result of the foregoing, Plaintiff was injured in health, strength,

   and activity, sustaining bodily injuries and shock and injury to her nervous system and

   person, all of which caused and continue to cause plaintiff great mental, physical and

   nervous pain and suffering; Plaintiff has thereby sustained damages in an amount to be

   determined by a jury.

          174.    As a further legal result of the conduct of MacFarland, Plaintiff was

   required to and did employ health care providers for examination, counseling,

   treatment, and care, and incurred, and will continue in the future to incur, medical and

   incidental expenses, including counseling costs, the exact amount of which is unknown

   to Plaintiff at this time.

          175.    As a further legal result of the conduct of MacFarland, Plaintiff was

   prevented from working and/or suffered a loss of earning capacity. Plaintiff is

   informed and believes and thereon alleges that her inability to work and/or reduction

   in his earning capacity will continue in the future, thereby causing a further loss of

   earnings and/or earning capacity, the exact amount of which is unknown to Plaintiff at

   this time.




                                                 22
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 23 of 30




          176.     Plaintiff herein anticipates serving upon MacFarland an offer to

   compromise under Colo. R. Evid. 408 and Colorado Civil Code §13-21-101, and upon

   such service of said offer, is entitled to interest on the amount of any judgment obtained

   in favor of Plaintiff, provided said judgment exceeds the amount stated in the said offer,

   said interest to be computed from the date of service of the said offer to compromise.

          177.     The acts of Defendant MacFarland perpetrated upon Plaintiff were

   intentional, malicious, and/or oppressive, entitling Plaintiff to punitive damages

   against the said defendant under Colorado Civil Code §13-21-102.


                           Count 2: Negligence - California Law Applies
                 (v. United States Swimming, Inc. and Colorado Swimming, Inc.)

          178.     Plaintiff incorporates all preceding paragraphs as though fully recited

   herein.

          179.     USA Swimming owed Plaintiff a duty to, inter alia, protect her from

   sexual assault by her coach, employ or retain suitable coaches entrusted to the care of

   this minor, institute and enforce appropriate policies, procedures, rules, regulations,

   and requirements necessary to prevent inappropriate sexual conduct by coaches, to

   report to the legal authorities any reasonable suspicion of child abuse, and/or to

   otherwise conduct themselves with due care to avoid injuring Plaintiff.

          180.     USA Swimming breached said duties by, inter alia, failing to report

   inappropriate behaviors to the authorities for proper investigation, failing to intervene




                                                23
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 24 of 30




   on Plaintiff’s behalf, and/or failing to implement and/or enforce proper policies and

   procedures for the protection of minor swimmers.

          181.   As a legal result of USA Swimming’s acts and/or omissions, Plaintiff

   sustained injuries and damages as hereinbefore alleged.

                         Count 3: Negligence - California Law Applies
                                       (v. MVC/MACS)

          182.   Plaintiff incorporates all preceding paragraphs as though fully recited

   herein.

          183.   Mission Aurora Swim Team (formerly Mission Viejo – Colorado) owed

   Plaintiff a duty to, inter alia, protect her from sexual assault by her coach, employ or

   retain suitable coaches entrusted to the care of this minor, institute and enforce

   appropriate policies, procedures, rules, regulations, and requirements necessary to

   prevent inappropriate sexual conduct by coaches, to report to the legal authorities any

   reasonable suspicion of child abuse, and/or to otherwise conduct themselves with due

   care to avoid injuring Plaintiff.

          184.   Mission Aurora Swim Team (formerly Mission Viejo – Colorado) breached

   said duties by, inter alia, failing to report inappropriate behaviors to the authorities for

   proper investigation, failing to intervene on Plaintiff’s behalf, and/or failing to

   implement and/or enforce proper policies and procedures for the protection of minor

   swimmers.




                                                24
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 25 of 30




          185.   As a legal result of Mission Aurora Swim Team’s (formerly Mission Viejo

   – Colorado's) acts and/or omissions, Plaintiff sustained injuries and damages as

   hereinbefore alleged.

       Count 4: Intentional Infliction of Emotional Distress - California Law Applies
      (v. MacFarland, USA Swimming, Inc., Colorado Swimming, Inc., MVC/MACS)

          186.   Plaintiff incorporates all preceding paragraphs as though fully recited

   herein.

          187.   The conduct of said Defendants as herein alleged was outrageous and was

   so extreme as to exceed all bounds of decency usually tolerated in a civilized

   community. In, inter alia, permitting a motherless girl to live with her adult male swim

   coach and failing to report reasonably suspected incidents of child abuse, said

   Defendants acted with reckless disregard for the probability that Plaintiff would suffer

   emotional distress.

          188.   In performing such lewd and lascivious acts upon Plaintiff, MacFarland

   acted with reckless disregard for the probability that Plaintiff would suffer emotional

   distress.

          189.   Further, MacFarland’s cruel emotional abuse of Plaintiff was done with

   the intention of grooming her and causing her mental distress.

          190.   As a legal result of the aforementioned acts, Plaintiff suffered severe

   emotional distress, such as fright, horror, anxiety, humiliation, and mental anguish,

   causing injury to her mind, spirit, and body, all to her general and special damages well

   above the jurisdictional minimum of this Court.


                                               25
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 26 of 30




          191.   Said Defendants have acted despicably and with willful and conscious

   disregard of the rights of others, and/or have subjected Plaintiff to cruel and unjust

   hardship in conscious disregard of her rights and safety.

          192.   Said Defendants are charged with malice and/or oppression, entitling

   Plaintiff to punitive damages for the sake of example and by way of punishing said

   Defendants, as hereinbefore alleged.

        Count 5: Negligent Infliction of Emotional Distress-California Law Applies
      (v. MacFarland, USA Swimming, Inc., Colorado Swimming, Inc., MVC/MACS,)

          193.   Plaintiff incorporates all preceding paragraphs as though fully recited

   herein.

          194.   All Defendants in this action were negligent, as each owed a duty to

   Plaintiff and all breached that duty, as described in greater detail above.

          195.   Defendants’ individual and collective negligence created an unreasonable

   risk of harm to Sarah and caused her to be in constant fear for her safety, security, and

   personal integrity.

          196.   The harm Sarah suffered as a result of Defendants’ individual and collective

   negligence manifested itself in physical harm, including (but not limited to) the sexual

   abuse of Sarah and her (thankfully unsuccessful) suicide attempts.

          197.   The negligent infliction of emotional distress caused Plaintiff to suffer

   damages in an amount to be determined by a jury.

                 Count 6: Action for Relief for Violation of 18 U.S.C. § 1589
                               Pursuant to 18 U.S.C. § 2255
                                    (v. All Defendants)


                                               26
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 27 of 30




            198.   Plaintiff incorporates all proceeding paragraphs as though fully recited

   herein.

            199.   MacFarland obtained the labor and services of Sarah by causing her to

   move in with him and making her entirely dependent on him for such basic needs as

   food and shelter.

            200.   Through his actions, MacFarland intended Sarah to believe that, if she did

   not labor for or service MacFarland, she would lose access to food and shelter.

            201.   MacFarland physically restrained Sarah within the confines of his

   apartment.

            202.   MacFarland restrained Sarah from having social contact with her peers.

            203.   MacFarland threatened to interfere with Sarah’s college recruitment and

   scholarships if she didn’t service him.

            204.   MacFarland’s actions violated 18 U.S.C. § 1589(a), which prohibits forced

   labor.

            205.   Cherry Creek Schools knowingly benefitted from its relationship with

   MacFarland by, among other things, receiving rent from him to use its pool.

            206.   Cherry Creek Schools knew or were in reckless disregard of the fact that

   MacFarland was obtaining labor and services from Sarah because, among other things,

   it knew they shared the same address, it knew he was neither her relation nor legal

   guardian, it knew she was a minor, and their “dating” relationship was common

   knowledge.


                                                27
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 28 of 30




          207.   Cherry Creek Schools’ actions and inactions violated 18 U.S.C. § 1589(b).

          208.   Cherry Creek School District 5 Employees 1-50 are individuals who,

   discovery may demonstrate, received particular benefit from a relationship with

   MacFarland and who knew, or were in reckless disregard of the fact, that he was

   obtaining labor and services from Sarah because, among other things, they knew they

   lived together, they knew he was neither her relation nor legal guardian, they knew she

   was a minor, and their “dating” relationship was common knowledge.

          209.   The Swimming Defendants (USA Swimming, Colorado Swimming,

   MACS) knowingly benefitted from their relationship with MacFarland by, among other

   things, receiving dues and membership fees from him and receiving revenue related to

   the results his swimmers attained at swim meets.

          210.   The Swimming Defendants knew or were in reckless disregard of the fact

   that MacFarland was obtaining labor and services from Sarah because, among other

   things, they knew they lived together, they knew he was neither her relation nor legal

   guardian, they knew she was a minor, and their “dating” relationship was common

   knowledge.

          211.   The Swimming Defendants’ actions and inactions violated 18 U.S.C. §

   1589(b).

          212.   18 U.S.C. § 2255 provides a civil remedy for personal injuries to

   individuals who, while minors, were victims of a violation of, inter alia, 18 U.S.C. § 1589.




                                               28
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 29 of 30




         213.    18 U.S.C. § 2256 defines a minor as a person under the age of 18 years,

   which Sarah was when she moved in with MacFarland and swam under him at high

   school.

         214.    18 U.S.C. § 2255(b) provides that there “shall be no time limit for the filing

   of a complaint commencing an action under this section.”

         215.    Under 18 U.S.C. § 2255, civil damages are presumed for violations of 18

   U.S.C. § 1589.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment as follows:

      1. For all special and all other economic damages according to proof;

      2. For general damages and other non-economic relief, according to proof;

      3. For loss of earning capacity, according to proof;

      4. For prejudgment interest, as allowed by law;

      5. For all damages, fees, and costs permitted and/or required by 18 U.S.C. §

      2255(a);

      6. For reasonable attorney’s fees against all defendants under Colorado Code of

      Civil Procedure §13-17-102;

      7. For reasonable attorney’s fees against defendant MacFarland under Colorado

      Code of Civil Procedure §13-17-102.02; and for fees under 42 USC 1988 or any other

      applicable fee shifting statute.

      8. For punitive damages, as according to proof and allowed by law;



                                                29
Case No. 1:22-cv-03322-RM-SKC Document 73 filed 08/14/23 USDC Colorado pg 30 of 30




      9. For costs of suit herein; and,

      10. For such other and further relief as the court may deem fit and proper.

                                          JURY DEMAND

                       Plaintiff demands a jury on all issues so triable.


   Dated: August 14, 2023


                                             Respectfully submitted:

                                             /s/ Annemarie Alonso
                                             Annemarie Alonso (CO Bar #52027)
                                             Jonathan Little
                                             Saeed and Little, LLP
                                             8777 Purdue Road
                                             Suite 225
                                             Indianapolis, IN 46268
                                             317-721-9214
                                             annie@sllawfirm.com
                                             jon@sllawfirm.com




                                               30
